                    Case 8-22-71630-las                    Doc 2        Filed 07/05/22           Entered 07/05/22 14:58:36


 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


      EASTERN                            NEW YORK
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____        7                                                              Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                                NEW ISLAND DEVELOPMENT, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 THOMAS DEBONIS
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




      Debtor’s federal Employer
 3.
      Identification Number (EIN)
                                                     XX-XXXXXXX
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___




 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  33 ANCHOR DR
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                              MASSAPEQUA,                     NY        11758
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  NASSAU COUNTY
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         NEW ISLAND DEVELOPMENT, LLC
              _______________________________________________________
              Name
                                                                                              Case number (if known)_____________________________________



 6.   Type of debtor
                                          x   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          X   None of the above


                                          B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5313
                                              ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      X   Chapter 7
                                              Chapter 9
                                              Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                    X The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                              Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          NEW ISLAND DEVELOPMENT , LLC
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        X No
       filed by or against the debtor
       within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases           X No
       pending or being filed by a
       business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When                __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have        X No
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                       Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                              Number          Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________         _______ ________________
                                                                              City                                            State ZIP Code


                                                   Is the property insured?

                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                            Contact name      ____________________________________________________________________

                                                            Phone             ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor          NEW ISLAND DEVELOPMENT, LLC
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                      Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                          X1-49                                 1,000-5,000                              25,001-50,000
 14.   Estimated number of                  50-99                               5,001-10,000                             50,001-100,000
       creditors
                                            100-199                             10,001-25,000                            More than 100,000
                                            200-999

                                            $0-$50,000                      X $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                     $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                            $0-$50,000                      X $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities                $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           07/05/2022
                                            Executed on _________________
                                                        MM / DD / YYYY


                                             _____________________________________________                 THOMAS DEBONIS
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                     CEO
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor         NEW ISLAND DEVELOPMENT, LLC
              _______________________________________________________
              Name
                                                                                          Case number (if known)_____________________________________



 18.   Signature of attorney
                                            _____________________________________________            Date       _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number     Street

                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                           ____________________________________                            __________________________________________
                                           Contact phone                                                   Email address



                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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 Fill in this information to identify the case and this filing:


                NEW ISLAND DEVELOPMENT, LLC
 Debtor Name __________________________________________________________________

                                               EASTERN
 United States Bankruptcy Court for the: ______________________ District of NEW  YORK
                                                                            __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         X    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         X    Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                           07/05/2022
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                     THOMAS DEBONIS
                                                                ________________________________________________________________________
                                                                Printed name

                                                                     CEO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                               www.nyeb.uscourts.gov


                                                 STATEMENT PURSUANT TO LOCAL
                                                   BANKRUPTCY RULE 1073-2(b)

DEBTOR(S):______________________________________________________
          NEW ISLAND DEVELOPMENT, LLC                            CASE NO.:______________________

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

฀ NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
✔
฀    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106                          - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206                                - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
2.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106                          - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206                                - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES:________________________________________________________________________________________________

                                                                            1
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                                                                    [OVER]

     DISCLOSURE OF RELATED CASES (cont’d)

3.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106                     - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206                         - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
     NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
     be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


     TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

     I am admitted to practice in the Eastern District of New York (Y/N): __________

     CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

     I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
     indicated elsewhere on this form.



     __________________________________________                                                                         07/05/2022
                                                                                      ______________________________________________
     Signature of Debtor’s Attorney                                                   Signature of Pro-se Debtor/Petitioner

                                                                                      ______________________________________________
                                                                                      33 ANCHOR DRIVE
                                                                                      Mailing Address of Debtor/Petitioner

                                                                                      MASSAPEQUA,       NY 11758
                                                                                      ______________________________________________
                                                                                      City, State, Zip Code

                                                                                      Thomas.Debonis@gmail.com
                                                                                      ______________________________________________
                                                                                      Email Address
                                                                                      516-272-1920
                                                                                      ______________________________________________
                                                                                      Area Code and Telephone Number




     Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
     other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
     the dismissal of the case with prejudice.

     NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
     result.


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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------
In Re:                                             Chapter 7


NEW ISLAND DEVELOPMENT, LLC
Debtor.
--------------------------------


                 VERIFICATION OF CREDITOR MATRIX

The undersigned, hereby verifies the attached list of
creditors is true and correct.



Dated: July 5, 2022


                                            _____________________
                                            Thomas Debonis
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George Esernio, Esq
1050 Franklin Ave. Suite 404
Garden City, New York 11530

Robertson, Anschultz, Schneid, Crane & Partners, PLLC
900 Merchants Concourse
Westbury, New York 11590

U.S. Bank National Association
c/o Robertson, Anschultz, Schneid, Crane & Partners, PLLC
900 Merchants Concourse
Westbury, New York 11590
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                 UNITED STATES BANKRUPTCY COURT
                  Eastern District of New York

In Re: New Island Development, LLC
Case.:


                RESOLUTION OF BOARD OF DIRECTORS
                               OF
                  NEW ISLAND DEVELOPMENT, LLC

     Whereas, it is the best interest of this corporate to
file a voluntary petition in the United States Bankruptcy
Court pursuant to Chapter 11 of Title of the United States
Code;

Be it Therefore Resolve, that THOMAS DEBONIS, President of
this Corporation is authorized and directed to employ an
attorney at law admitted in the Eastern District of New
York to represent the corporation in such bankruptcy case.

Dated:     July 5, 2022
           Massapequa, NY

                                            _________________________________
                                            Thomas Debonis
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                 UNITED STATES BANKRUPTCY COURT
                  Eastern District of New York

In Re: New Island Development, LLC
Case.:


         CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)
                              OF
                 New Island Development, LLC

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and
to enable the Judges to evaluate possible disqualification
or recusal, the undersigned certifies that the following is
a corporation, other than the debtor or a governmental
unit, that directly or indirectly own(s) 10% or more of any
class of the corporation’s equity interests, or states that
there are no entities to report under FRBP 7007.1:

None



Dated:     July 5, 2022
           Massapequa, NY

                                            _________________________________
                                            Thomas Debonis
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                 UNITED STATES BANKRUPTCY COURT
                  Eastern District of New York

In Re: New Island Development, LLC
Case.:


           STATEMENT REGARDING CORPORATE DISCLOSURE
                PURSUANT TO LOCAL RULE 1073-3

     The undersigned, being the sole member of New Island
Development, LLC, hereby states that there are no entities
that directly or indirectly own 10% or more of any class of
the debtor’s equity interest.



Dated:     July 5, 2022
           Massapequa, NY

                                            _________________________________
                                            Thomas Debonis
